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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

THE MAYA GROUP, INC.,
                                                          Case No.: 1:19-cv-04432
       Plaintiff,
                                                          Judge Martha M. Pacold
v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                      NOTICE OF DISMISSAL

        Plaintiff hereby files this Notice of Voluntary Dismissal as to any remaining Defendants

 that have not been subject to a prior Order entered by the Court, including any consent judgment

 order, final judgment order, or a prior dismissal entered by the Court. All such Defendants are

 hereby dismissed without prejudice.

        This terminates the action.

 DATED: September 11, 2019                            Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
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                                                      111 West Jackson Boulevard, Suite 1700
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                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04432 Document #: 30 Filed: 09/11/19 Page 2 of 2 PageID #:390




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 11, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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